

ORDER

PER CURIAM:
AND NOW, this 13th day of March, 2000, Krzysztof L. Nowak having been suspended from the practice of law in the State of New Jersey for a period of three months by Order of the Supreme Court of New Jersey dated July 15, 1999; the said Krzysztof L. Nowak having been directed on December 28, 1999, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and upon consideration of the responses filed, it is
ORDERED that Krzysztof L. Ñowak is suspended from the practice of law in this Commonwealth for a period of three months, and he shall comply with all the provisions of Rule 2Í7, Pa.R.D.E.
